                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 CORY MCNEAL                                      )
                                                  )
 v.                                               )   No.    1:12-CV-187/1:08-CR-56
                                                  )          Chief Judge Curtis L. Collier
 UNITED STATES OF AMERICA                         )

                                        MEMORANDUM

        Federal prisoner Cory McNeal (“McNeal”) filed for post-conviction relief pursuant to 28

 U.S.C. § 2255 on June 23, 2011 (Criminal Court File No. 482).1 The Court denied relief on June

 27, 2011, finding McNeal’s § 2255 motion was time-barred by the statute of limitations (Criminal

 Court File Nos. 483 & 484). McNeal has now filed a second § 2255 motion attacking the same

 conviction (Criminal Court File No. 509).

        In accordance with the “Antiterrorism and Effective Death Penalty Act of 1996,” effective

 April 24, 1996, McNeal cannot file a second or successive § 2255 motion in the District Court until

 he has moved in the United States Court of Appeals for the Sixth Circuit for an order authorizing

 the District Court to consider the motion. This Court has not received an order from the Sixth

 Circuit authorizing it to consider the pending motion.




        1
               Each document will be identified by the Court File Number assigned to it in the
 underlying criminal case.


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        Accordingly, the Clerk will be DIRECTED to TRANSFER this action to the United States

 Court of Appeals for the Sixth Circuit, pursuant to 28 U.S.C. § 1631 and close this case. See Sims

 v. Terbush, 111 F.3d 45, 47 (6th Cir. 1997).

        SO ORDERED.

        ENTER.



                                                /s/
                                                CURTIS L. COLLIER
                                                CHIEF UNITED STATES DISTRICT JUDGE




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